AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

V. ) Case: 1:21-mj-00423
. . Assigned to: Judge Faruqui, Zia M.
Christopher Warnagiris ) Assign Date: 5/1 3/2021 9
) Description: COMPLAINT W/ARREST WARRANT
)
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Christopher Warnagiris ;
who is accused of an offense or viclation based on the following document filed with the court:

© Indictment O Superseding Indictment O Information O Superseding Information [J Complaint

© Probation Violation Petition O) Supervised Release Violation Petition OViolation Notice O Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 111(a) - Assaulting, Resisting, or Impeding Certain Officers or Employee;

18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder;

18 U.S.C. § 1512(c)(2) - Obstruction of Justice/Congress;

18 U.S.C. § 1752(a) & (b) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful
Authority;

40 U.S.C. § 5104(e}(2) - Violent Entry and Disorderly Conduct on Capitol Grounds.

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issuing officer's signature

Date: 05/12/2021

 

City and state: Washington, D.C. Zia M. Faruqui, U.S. Magistrate Judge

Printed name and title

 

Return

This warrant was received on (date) Si if z/ Zi , and the person was arrested on (date) S/S /2

at (city and state) Quanhto Vt

Date: S//3/y A. [C=

Hon bthall of Fer Arresting officer's signature

Sienui LUM

Printed name and title

 

 

 

 
